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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                     Plaintiff,                                  4:11CR3110
      vs.
                                                       MEMORANDUM AND ORDER
KENNETH A. JONES,
                     Defendant.


      Defense counsel has moved to withdraw due to a conflict of interest. (Filing No. 98).
The defendant Kenneth A Jones eligible for appointed counsel pursuant to the Criminal
Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District
of Nebraska.

      IT IS ORDERED:

      1)       Defense counsel's motion to appoint new counsel, (filing no. 98), is granted.
               Gregory C. Damman is hereby withdrawn as counsel, and he shall promptly
               notify the defendant of the entry of this order.

      2)       The clerk shall delete Gregory C. Damman from any future ECF notifications
               herein.

      3)       The clerk shall forward this memorandum and order to the Federal Public
               Defender.

      4)       The Federal Public Defender shall forthwith provide the court with a draft
               appointment order (CJA Form 20) bearing the name and other identifying
               information of the CJA Panel attorney identified in accordance with the
               Criminal Justice Act Plan for this district.

      5)       The newly appointed counsel shall promptly file an entry of appearance on
               behalf of the defendant.

      August 10, 2012.                             BY THE COURT:

                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
